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                   EXHIBIT B
                                                   Case 1:23-cr-00118-AT Document 50-2 Filed 04/19/23 Page 2 of 5

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                              . UNITED
                                   . . STATES DISTRIC'"f
                                                   . .   COURT
                                                          . . .                                                                                                                               ..
                          FOR TIIE SOUTHERN DISTRICT OF NEW YORI(
                                                                                                                   ..
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  UNITED STATES OF AMERICA
                                                                                                                        . C.R~INAL NO. 23-CR-.118 (AT)
                 v.                      • •                                                                                               . . .. .                                                        •
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  HO WAN KWOK, et al.,                                                                                                   DECLARATION
                                                                                                                          .        . .OF VICTOR
                                                                                                                       · X~ CI~RDA
                               Defenda11ts.
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 I, VICTOR X. CERDA, declare as follows:
                                                                                        ..                                                                                                                     .                    .,       .
                      .                                                                                                                                                                                            •'

    .1 . I am an attorney licensed in the State of Illinois and haye practiced law for twenty-eigl1t
                                                                                                                                              ·•                    ..            .
years. I specialize in immigration law, among other transn~tional-related practice ~eas.
                                                                                                                        .                                  .                      .


    2. I have personal knowledge of the facts stated in this declaration. If called as a witness, I

cou]d and ~ould competently testify to the matters stated herein; •·
                                                                                                                                                               ..    .

    3. I an1 counsel to Ho Wan Kwok in connection with his application for asylum in the
                                                                                                                        .         .                                      .                    .

United States.
                                                                                                                                                                                                                   ..                            .
    4. In co1uiection witl1 Mr. K wok~s asylum application, Mr. Kwok renounced _his..citizenship
                                               .                                                  .   . .
                                                                                                         ...                          . ..
in the United Arab Emirates (''UAE''). On or about
                                             .
                                                   April .17,
                                                          . .
                                                              2018, I travelled
                                                                        .
                                                                                to .New.York
                                                                                      .      City
                                                                                                                                              .                              ..
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to meet with a government official of the UAE to facilitate the return of Mr. !(wok' s UAE
                                                                                                                                 ..
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passport. At the meeting, I confirmed the UAE official's·· .status by inspecting l1is.diplomatic
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passport. I surrendered Mr. Kwok's passport to the UAE government official during.this

meeting.
                                                                                                                                                                                              .    ,   .
   5. Following the surrender ·of Mi·. Kwok's passport~ the U_A E government ~f:ficial..handed
                                                                                                                                   .' . .

me a letter dated April 11, 2018. A true and correct copy qf tµe letter ~s attached here.to -as
                                                                                                                            '•




''Exhibit l ." The letter, which contains a UAE seal and apparent signature of the Director of
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                                                        Case 1:23-cr-00118-AT Document 50-2 Filed 04/19/23 Page 3 of 5




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Diplomatic Affairs of tl1e United Arab E1nirates (''UAE'')·, :co'J}firms Mr. Kwok)s ·renti11ciation of

his UAE citizenship.
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   6. In or. about
               .
                   Jt1ly 201~, a_copy of this UAE.letter._was
                                                           ...
                                                               p·rov.ided
                                                                    .
                                                                          to the U.S. Government.         •:




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I declare under penalty of perjury under
                                      . the
                                          .
                                            laws of the United States of America that the
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                                                        ·-.                                                                                            ..                                 ..
foregoing is:true and cprrect.                                                                                                       •


                                                                                                               ..
       Executed April 19, 2023 in New York.                                                                    ..
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                                                                                                                                                                VICTOR X. CERDA.

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       EXHIBIT 1 TO THE
DECLARATION OF VICTOR X. CERDA
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             UNITED ARAB EMIRATES                                                        o..u-..:al ~~I ~1Jl.o11
      OFFICE OF FOREIGN MINISTER                                                          'j!    e   '?".) L.....;.._J I ..>----=JJ •. e   ;   S' 4
  & INTERNATIONAL COOPERATION                                                            '='               tJ '"'---11 0JI                     , i r,_.,




11 April 2018



Mr. Victor X. Cerda Esq.
777 Brickell A venue

Suite 400

Miami, FL 3313



Re: Entry of Renunciation of Citizenship of United Arab Emirates Ho Wan Kwok



Dear Mr. Cerda,

We confirm receipt of the request by Mr. Ho Wan Kwok to renounce his citizenship of the United
Arab Emirates and the cancellation of his United Arab Emirates Passport No. J11F59997.

This request of renunciation of citizenship of d1e United Arab Emirates by Mr. Ho Wan Kwok is duly
noted and registered by the competent authorities of the United Arab Emirates.

Mr. Ho Wan Kwok is requested to hand any United Arab Passport in his possession to any authorized
representative of the Ministry of Foreign Affairs and International Cooperation of the United Arab
Emirates.



Sincerely,

Director of the Diplomatic Affairs Department




                                                                www.mofa.gov.ae
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                       TEL. : +971 2 2222000 • PO BOX 1 • ABU DHABI • UNITED ARAB EMIRATES
